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                    Defendant’s Exhibit B
                             (CPI-U Table)
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          U.S. BUREAU OF LABOR STATISTICS


Databases, Tables & Calculators by Subject

Change Output Options:          From: 1996         To: 2023
                                     include graphs       include annual averages


Data extracted on: April 23, 2023 (7:07:29 PM)

CPI for All Urban Consumers (CPI-U)

Series Id:     CUUR0400SA0
Not Seasonally Adjusted
Series Title: All items in West urban, all urban consumers, not seasonally adjusted
Area:          West
Item:          All items
Base Period: 1982-84=100




Download:
Year   Jan     Feb     Mar     Apr    May      Jun     Jul     Aug     Sep     Oct     Nov     Dec   Annual HALF1 HALF2
1996   155.3   155.8   156.4   157.1   157.6   157.5   157.9   158.0   158.6   159.1   159.2   158.7   157.6   156.6   158.6
1997   159.6   160.1   160.8   161.1   161.1   161.0   161.1   161.5   162.1   162.8   162.8   162.8   161.4   160.6   162.2
1998   163.0   163.2   163.3   163.6   164.3   164.2   164.3   164.8   165.1   165.5   165.8   165.8   164.4   163.6   165.2
1999   166.4   166.9   167.3   169.0   168.7   168.3   168.9   169.5   170.0   170.4   170.4   170.5   168.9   167.8   170.0
2000   171.0   172.0   173.5   173.7   174.0   174.3   175.2   175.9   176.6   177.2   177.2   177.1   174.8   173.1   176.5
2001   178.3   179.3   180.1   180.4   181.3   182.0   182.0   181.9   182.5   182.5   182.3   181.6   181.2   180.2   182.1
2002   182.4   183.2   184.0   185.1   184.8   184.5   184.7   185.3   185.7   185.8   185.8   185.5   184.7   184.0   185.5
2003   186.6   188.1   189.3   188.8   188.5   188.1   188.4   189.2   189.6   189.4   188.5   188.3   188.6   188.2   188.9
2004   189.4   190.8   192.2   192.3   193.4   193.3   192.9   193.0   193.8   195.0   195.1   194.2   193.0   191.9   194.0
2005   194.5   195.7   197.1   198.6   198.8   198.0   198.6   199.6   201.7   202.6   201.4   200.0   198.9   197.1   200.7
2006   201.7   202.7   203.8   205.3   206.9   206.4   206.7   207.5   207.8   207.1   206.3   206.2   205.7   204.5   206.9
2007 207.790 208.995 210.778 212.036 213.063 212.680 212.542 212.406 212.920 213.917 214.904 214.733 212.230 210.890 213.570
2008 215.739 216.339 218.533 219.437 221.009 223.040 223.867 222.823 222.132 221.034 217.113 214.685 219.646 219.016 220.276
2009 215.923 217.095 217.357 217.910 218.567 219.865 219.484 219.884 220.294 220.447 219.728 219.307 218.822 217.786 219.857
2010 219.989 220.179 220.809 221.202 221.417 221.147 221.331 221.523 221.384 221.708 221.671 222.081 221.203 220.790 221.616
2011 223.149 224.431 226.558 227.837 228.516 228.075 227.805 228.222 229.147 229.195 228.771 228.117 227.485 226.428 228.543
2012 228.980 229.995 232.039 232.561 233.053 232.701 231.893 233.001 234.083 234.966 233.206 232.029 232.376 231.555 233.196
2013 232.759 234.595 235.511 235.488 235.979 236.227 236.341 236.591 237.146 237.000 236.153 236.096 235.824 235.093 236.555
2014 236.707 237.614 239.092 239.808 241.350 241.616 241.850 241.660 241.920 241.650 240.220 239.095 240.215 239.365 241.066
2015 238.318 239.748 241.690 242.302 244.227 244.332 245.040 244.737 244.257 244.341 243.749 243.434 243.015 241.770 244.260
2016 244.600 244.821 245.404 246.589 247.855 248.228 248.375 248.498 249.234 249.897 249.448 249.516 247.705 246.250 249.161
2017   250.814   252.252   252.949    253.806   254.380    254.469   254.708   255.282   256.504   257.223   257.126   257.347   254.738   253.112   256.365
2018   258.638   259.986   260.994    262.037   263.240    263.732   263.971   264.395   265.105   266.195   265.658   265.209   263.263   261.438   265.089
2019   265.624   266.215   267.370    269.522   270.880    270.957   271.029   271.264   272.102   273.524   273.128   272.584   270.350   268.428   272.272
2020   273.340   274.412   273.995    272.913   273.062    274.155   275.597   276.443   276.422   276.876   276.875   276.593   275.057   273.646   276.468
2021   277.238   278.702 280.625 283.507 285.793 288.263 289.863 290.393 291.053 293.397 294.986 296.102 287.494 282.355 292.632
2022   298.705   301.158 305.082 307.145 309.645 313.496 313.951 314.013 315.094 317.299 315.919 314.599 310.509 305.872 315.146
2023   317.477   319.130 320.715




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